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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                       )
                                                )
                 Plaintiff,                     )       SECOND AMENDED ORDER
                                                )
        vs.                                     )
                                                )
Devante Carvil Anthony,                         )       Case No. 1:21-cr-188
                                                )
                 Defendant.                     )

        On June 24, 2022, the Court issued an order conditionally releasing Defendant to Centre, Inc.

in Mandan, North Dakota, on June 27, 2022. (Doc. No. 49). On October 20, 2022, Defendant filed

a motion requesting that the court modify his release conditions to allow him to reside at his

girlfriend’s residence in Madison, Wisconsin. (Doc. No. 78). On November 3, 2022, the Court

issued an order denying the motion. (Doc. No. 80).

        On February 8, 2023, Defendant filed motion renewing his request that the court modify his

conditions of release to allow him to reside at his girlfriend's residence in Madison, Wisconsin.

(Doc. No. 83).

        There being no objection from the United States, the Court GRANTS Defendant’s motion

(Doc. No. 83). Defendant’s release conditions are modified as follows. Defendant shall continue

to reside at Centre, Inc. until he provides the Pretrial Services Office with a travel itinerary it deems

acceptable. Once he has provided the Pretrial Services Office with this travel itinerary, Defendant

shall travel to Madison, Wisconsin, and reside at an address approved by the Pretrial Services

Officer. Defendant shall not change this residence without the prior permission of the Pretrial

Services Officer. Defendant shall submit to Active GPS location monitoring and shall pay all or

part of the costs of participation in the location monitoring program as directed by the Court and the

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Pretrial Services Office. Defendant is restricted to his residence every day from 10:00 PM to 6:00

AM or as otherwise directed by the supervising Pretrial Services Officer

       Immediately following his discharge from Centre, Inc. and before he departs for Wisconsin,

Defendant shall report to the Pretrial Services Office to be fitted with the Active GPS location

monitoring equipment.

       IT IS SO ORDERED.

       Dated this 10th day of February, 2023.

                                                    /s/ Clare R. Hochhalter
                                                    Clare R. Hochhalter, Magistrate Judge
                                                    United States District Court




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